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             EXHIBIT 50
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                 EXHIBIT 3
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Troilo, Stefano

From:                                       Xu, Nora N. <Nora.Xu@wilmerhale.com>
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                                            jtavares@wc.com; danderson@wc.com; handerson@wc.com;
                                            Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com;
                                            Wexler, Bruce M.; Dittmann, Eric W.; Park, Young J.; Kung, Simon; Hilgar, Rebecca A.;
                                            Minniti, Carl; Meuth, Ryan; BioNTech-Moderna-PH; lss@saul.com; McDougald, Wesley
Cc:                                         WH_Moderna_Lit
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Thank you,
Nora

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